        Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 1 of 27




                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


JAMES GLAVAN, Individually and On          Case No.:
Behalf of All Others Similarly Situated,

                             Plaintiff,    CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
              v.                           SECURITIES LAWS

REVOLUTION LIGHTING
TECHNOLOGIES, INC., ROBERT V.              JURY TRIAL DEMANDED
LAPENTA, CHARLES J. SCHAFER, and
JAMES A. DEPALMA,

                             Defendants.
            Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 2 of 27




       Plaintiff James Glavan (“Plaintiff”), by and through his attorneys, alleges the following

upon information and belief, except as to those allegations concerning Plaintiff, which are

alleged upon personal knowledge. Plaintiff’s information and belief is based upon, among other

things, his counsel’s investigation, which includes without limitation: (a) review and analysis of

regulatory filings made by Revolution Lighting Technologies, Inc. (“Revolution Lighting” or the

“Company”), with the United States (“U.S.”) Securities and Exchange Commission (“SEC”); (b)

review and analysis of press releases and media reports issued by and disseminated by

Revolution Lighting; and (c) review of other publicly available information concerning

Revolution Lighting.

                       NATURE OF THE ACTION AND OVERVIEW
       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Revolution Lighting securities between March 14, 2014, and November 14, 2018,

inclusive (the “Class Period”), seeking to pursue remedies under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.       Revolution Lighting purports to design and manufacture light-emitting diode

(“LED”) lighting solutions for industrial, commercial, and government markets.

       3.       On October 17, 2018, the Company reported preliminary financial results for third

quarter 2018 with revenue expected to be $33 million, compared to guidance of $40-$41 million.
The Company also announced that its CEO had offered to acquire all of the common stock of the

Company for a price of $2.00 per share.

       4.       On this news, the Company’s stock price fell $0.98 per share, or over 38%, to

close at $1.58 per share on October 17, 2018, on unusually heavy trading volume.1

       5.       On October 19, 2018, the Company disclosed “an ongoing investigation by the

SEC regarding certain revenue recognition practices, including bill and hold transactions that

occurred between 2014 through the second quarter of 2018.”


1
  The Company’s stock traded on a split-adjusted basis following a one-for-ten reverse stock
split, effective March 11, 2016. All references to the stock price herein reflect the post-split
price.
                                    CLASS ACTION COMPLAINT
                                               1
              Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 3 of 27




         6.       On this news, the Company’s stock price fell $0.16 per share, or over 10%, to

close at $1.43 per share on October 22, 2018, on unusually heavy trading volume.

         7.       Then, on November 14, 2018, the Company announced that its Transaction

Committee was considering an updated proposal from Defendant LaPenta to acquire all of the

Company’s outstanding stock for $1.50 per share, referring in part to the SEC investigation as

part of the reason Mr. La Penta wished to take the Company private.

         8.       On this news, the Company’s stock price fell $0.55 per share, or nearly 40%, to

close at $0.85 per share on November 15, 2018, on unusually heavy trading volume.

         9.       Throughout the Class Period, Defendants made false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants made false and/or misleading statements

and/or failed to disclose: (1) that the Company was improperly recognizing revenue for certain

transactions; (2) that, as a result, the Company’s financial statements were misstated; (3) that the

Company lacked adequate internal controls over financial reporting; (4) that, as a result,

Company would be subject to regulatory scrutiny and incur substantial costs; and (5) that, as a

result of the foregoing, Defendants’ positive statements about the Company’s business,

operations, and prospects and prospects were materially misleading and/or lacked a reasonable

basis.

         10.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                  JURISDICTION AND VENUE
         11.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

         12.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

         13.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

                                     CLASS ACTION COMPLAINT
                                                2
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 4 of 27




Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the dissemination of materially false and/or misleading information,

occurred in substantial part in this Judicial District.

        14.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES
        15.     Plaintiff James Glavan, as set forth in the accompanying certification,

incorporated by reference herein, purchased Revolution Lighting securities during the Class

Period, and suffered damages as a result of the federal securities law violations and false and/or

misleading statements and/or material omissions alleged herein.

        16.     Defendant Revolution Lighting is incorporated under the laws of Delaware with

its principal executive offices located in Stamford, Connecticut. Revolution Lighting’s common

stock trades on the NASDAQ exchange under the symbol “RVLT.”

        17.     Defendant Robert V. LaPenta (“LaPenta”) was the Chief Executive Officer

(“CEO”) and Chairman of the Board of Directors of the Company at all relevant times.
        18.     Defendant Charles J. Schafer (“Schafer”) was the Chief Financial Officer

(“CFO”) of the Company from January 2013 to July 10, 2015.

        19.     Defendant James A. DePalma (“DePalma”) has been the CFO of the Company

since July 10, 2015.
        20.     Defendants LaPenta, Schafer, and DePalma are collectively referred to hereinafter

as the “Individual Defendants.” The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Revolution Lighting’s

reports to the SEC, press releases and presentations to securities analysts, money and portfolio

managers and institutional investors, i.e., the market. Each defendant was provided with copies


                                     CLASS ACTION COMPLAINT
                                                3
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 5 of 27




of the Company’s reports and press releases alleged herein to be misleading prior to, or shortly

after, their issuance and had the ability and opportunity to prevent their issuance or cause them to

be corrected. Because of their positions and access to material non-public information available

to them, each of these defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive representations

which were being made were then materially false and/or misleading.                The Individual

Defendants are liable for the false statements pleaded herein, as those statements were each

“group-published” information, the result of the collective actions of the Individual Defendants.

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       21.     Revolution Lighting purports to design and manufacture light-emitting diode

(“LED”) lighting solutions for industrial, commercial, and government markets.

       22.     In August 2013, the Company acquired Relume Technologies (“Relume”), a

manufacturer of LED lighting products and control systems.

       23.     In April 2014, the Company acquired Value Lighting Inc. (“Value Lighting”), a

supplier of lighting solutions to the multifamily residential market.
                               Materially False and Misleading
                          Statements Issued During the Class Period

       24.     The Class Period begins on March 14, 2014. On that day, the Company filed its

annual report on Form 10-K for the period ended December 31, 2013 (the “2013 10-K”). It

reported revenue of $26.06 million. Regarding the Company’s revenue recognition policy, the

2013 10-K stated:
       We recognize revenue for our products upon shipment or delivery to customers in
       accordance with the respective contractual arrangements, provided no significant
       obligations remain and collection is probable. For sales that include customer
       acceptance terms, revenue is recorded after customer acceptance. It is our policy
       that all sales are final. Requests for returns are reviewed on a case by case basis.
       As revenue is recorded, we accrue an estimated amount for product returns as a
       reduction of revenue.


                                    CLASS ACTION COMPLAINT
                                               4
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 6 of 27




       Revenues from merchandise shipped to a logistics supplier for Seesmart, who had
       the contractual right to return merchandise in inventory, was recognized when the
       merchandise was delivered by the logistics supplier to the end user. Payments
       received from the logistics supplier prior to recognizing the related revenue are
       recorded as customer deposits. During the first quarter of 2013, this arrangement
       was terminated.

       Pursuant to agreements with distributors, which provide the distributors with the
       rights to purchase and resell inventory, we receive up front licensing fees for
       ongoing support obligations during the term of the agreement. Such fees are
       amortized by us over the term of the contracts which range from three to
       ten years. Unamortized licensing fees are included in deferred revenue in the
       accompanying consolidated balance sheets.

       Sales taxes billed to customers are recorded on a gross basis as revenues. From
       time to time, we enter into multiple element arrangements to provide products and
       installation services. Revenues are allocated to each element based on our best
       estimate of the selling prices of each element.

       25.    The 2013 10-K contained certifications by defendants LaPenta and Schafer to

attest that the financial information contained therein was accurate and that it disclosed any

material changes to the Company’s internal controls over financial reporting.

       26.    However, the 2013 10-K disclaimed any assessment of the internal controls with

respect to Relume. The Company stated, in relevant part:
       In conducting the Company’s evaluation of the effectiveness of its internal control
       over financial reporting, management determined that the internal control systems
       of Relume Technologies, Inc. and Tri-State DE LLC, wholly owned subsidiaries
       acquired on August 22, 2013 and November 15, 2013, respectively, would be
       excluded from its internal control assessment, as permitted by guidance issued by
       the Securities and Exchange Commission. Accordingly, as of and for the year
       ended December 31, 2013, internal control systems underlying to approximately
       24% of consolidated revenues and 14% of consolidated assets have been excluded
       from management’s evaluation of internal control over financial reporting.

       27.    On May 12, 2014, the Company filed its quarterly report on Form 10-Q for the

period ended March 31, 2014 (the “1Q14 10-Q”) and reported revenue of $4.95 million.

       28.    The 1Q14 10-Q contained certifications by defendants LaPenta and Schafer to

attest that the financial information contained therein was accurate and that it disclosed any

material changes to the Company’s internal controls over financial reporting. Moreover, the

report stated that “[t]here was no change in [the Company’s] internal controls over financial


                                  CLASS ACTION COMPLAINT
                                             5
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 7 of 27




reporting that occurred during the quarter ended March 31, 2014 that has materially affected, or

is reasonably likely to materially affect, our internal control over financial reporting.”
       29.     On August 7, 2014, the Company filed its quarterly report on Form 10-Q for the

period ended June 30, 2014 (the “2Q14 10-Q”) and reported revenue of $17.52 million.

       30.     The 2Q14 10-Q contained certifications by defendants LaPenta and Schafer to

attest that the financial information contained therein was accurate and that it disclosed any

material changes to the Company’s internal controls over financial reporting. Under the heading

“Controls and Procedures,” the report stated, in relevant part:

       During the second quarter of 2014, the Company implemented new accounting
       systems and related modifications of processes and controls at its Relume and
       Lumificient subsidiaries. The Company also hired Directors of Finance at its
       Relume, Seesmart and newly acquired Value Lighting subsidiaries and expanded
       its accounting resources at its corporate headquarters and Value Lighting
       subsidiaries.

       31.     On November 6, 2014, the Company filed its quarterly report on Form 10-Q for

the period ended September 30, 2014 (the “3Q14 10-Q”) and reported revenue of $26.88 million.

       32.     The 3Q14 10-Q contained certifications by defendants LaPenta and Schafer to

attest that the financial information contained therein was accurate and that it disclosed any

material changes to the Company’s internal controls over financial reporting. Moreover, the

report stated that “[t]here was no change in [the Company’s] internal controls over financial

reporting that occurred during the quarter ended September 30, 2014 that has materially affected,

or is reasonably likely to materially affect, our internal control over financial reporting.”

       33.     On March 16, 2015, the Company filed its annual report on Form 10-K for the

period ended December 31, 2014 (the “2014 10-K”). For 2014, the Company reported revenue of

$76.85 million.

       34.     The 2014 10-K contained certifications by defendants LaPenta and Schafer to

attest that the financial information contained therein was accurate and that it disclosed any


                                    CLASS ACTION COMPLAINT
                                               6
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 8 of 27




material changes to the Company’s internal controls over financial reporting.

       35.     However, the 2014 10-K disclaimed any assessment of the internal controls with

respect to Value Lighting. The Company stated, in relevant part:

       In conducting the Company’s evaluation of the effectiveness of its internal control
       over financial reporting, management determined that the internal control systems
       of Value Lighting and All Around, wholly-owned subsidiaries acquired on April
       17, 2014 and December 18, 2014, respectively, would be excluded from its
       internal control assessment, as permitted by guidance issued by the Securities and
       Exchange Commission. Accordingly, as of and for the year ended December 31,
       2014, internal control systems underlying to approximately 60% of consolidated
       revenues and 24% of consolidated assets (excluding goodwill and identifiable
       intangible assets), have been excluded from management’s evaluation of internal
       control over financial reporting.

       36.     On November 5, 2015, the Company filed its quarterly report on Form 10-Q for

the period ended September 30, 2015 (the “3Q15 10-Q”). This report contained certifications by

defendants LaPenta and DePalma to attest that the financial information contained therein was

accurate and that it disclosed any material changes to the Company’s internal controls over

financial reporting.

       37.     The 3Q15 10-Q reported revenue of $37.73 million for the quarter. It also

disclosed a different revenue recognition policy than in prior periods as identified in ¶24. The

Company, in relevant part, stated:

       The Company recognizes revenue for its products upon shipment or delivery to
       customers in accordance with the respective contractual arrangements, provided
       no significant obligations remain and collection is probable. For sales that include
       customer acceptance terms, revenue is recorded after customer acceptance. It is
       the Company’s policy that all sales are final. Requests for returns are reviewed on
       a case-by-case basis. As revenue is recorded, the Company accrues an estimated
       amount for product returns as a reduction of revenue.

       The Company recognizes revenue from fixed-price and modified fixed-price
       contracts for turnkey energy conservation projects using the percentage-of-
       completion method of accounting. The percentage-of-completion is computed by
       dividing the actual incurred cost to date by the most recent estimated total cost to
       complete the project. The computed percentage is applied to the expected revenue
       for the project to calculate the contract revenue to be recognized in the current
       period. This method is used because management considers total cost to be the

                                     CLASS ACTION COMPLAINT
                                                7
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 9 of 27




       best available measure of progress on these contracts. Contract costs include all
       direct material and labor costs and indirect costs related to contract performance.
       Provisions for estimated losses on uncompleted contracts are made in the period
       in which such losses are determined.

       38.     On March 10, 2016, the Company filed its annual report on Form 10-K for the

period ended December 31, 2015 and reported revenue of $129.66 million. This report contained

certifications by defendants LaPenta and DePalma to attest that the financial information

contained therein was accurate and that it disclosed any material changes to the Company’s

internal controls over financial reporting.

       39.     On March 9, 2017, the Company filed its annual report on Form 10-K for the

period ended December 31, 2016 and reported revenue of $172.12 million. This report contained

certifications by defendants LaPenta and DePalma to attest that the financial information

contained therein was accurate and that it disclosed any material changes to the Company’s

internal controls over financial reporting.

       40.     On March 8, 2018, the Company filed its annual report on Form 10-K for the

period ended December 31, 2017 and reported revenue of $152.31 million. This report contained

certifications by defendants LaPenta and DePalma to attest that the financial information

contained therein was accurate and that it disclosed any material changes to the Company’s

internal controls over financial reporting. Moreover, the report stated that “management

concluded that [the Company’s] disclosure controls and procedures were effective at a

reasonable assurance level as of the end of the period covered by the report.”

       41.     On May 1, 2018, the Company filed its quarterly report on Form 10-Q for the

period ended March 31, 2018 and reported revenue of $33.74 million. This report contained

certifications by defendants LaPenta and DePalma to attest that the financial information

contained therein was accurate and that it disclosed any material changes to the Company’s

internal controls over financial reporting. Moreover, the report stated, in relevant part:

                                    CLASS ACTION COMPLAINT
                                               8
        Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 10 of 27




       [M]anagement concluded that [the Company’s] disclosure controls and
       procedures were effective at a reasonable assurance level as of the end of the
       period covered by the report.

                                              ***

       Beginning January 1, 2018, we implemented ASC 606, “Revenue from Contracts
       with Customers.” Although the new revenue standard had an immaterial impact
       on our ongoing net income, we did implement changes to our processes related to
       revenue recognition and the control activities within them. These included the
       development of new policies based on the five-step model provided in the new
       revenue standard, new training, ongoing contract review requirements, and
       gathering of information provided for disclosures.

       42.    On August 13, 2018, the Company filed its quarterly report on Form 10-Q for the

period ended June 30, 2018 (the “2Q18 10-Q”) and reported revenue of $36.44 million.

       43.    The 2Q18 10-Q reported a material weakness in the Company’s financial

reporting. Under the heading “Controls and Procedures,” the Company stated, in relevant part:

       As of December 31, 2017, our management conducted an evaluation of our
       internal control over financial reporting and determined that our internal control
       over financial reporting was effective. At such date we identified a significant
       deficiency related to the controls over the proper identification of certain
       collection patterns relevant for bill and hold revenue recognition. Since
       December 31, 2017, our management has implemented changes in internal control
       over financial reporting to address this significant deficiency, including changing
       the design of existing controls and implementing additional transaction level and
       review controls. In addition, corporate management is strengthening the internal
       accounting functions at the divisional or subsidiary level, where appropriate.

       At June 30, 2018, we have determined that certain of the transaction level and
       review controls over revenue recognition have not operated effectively.
       Specifically, our management has identified control deficiencies related to the
       proper identification of certain collection patterns and the finalization and review
       of executed contracts related to bill and hold arrangements and controls over the
       recording of material costs. We have determined that these control deficiencies
       aggregate to a material weakness at June 30, 2018.

       44.    The above statements identified in ¶¶24-43 were materially false and/or

misleading, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants made false and/or misleading statements

and/or failed to disclose: (1) that the Company was improperly recognizing revenue for certain


                                  CLASS ACTION COMPLAINT
                                             9
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 11 of 27




transactions; (2) that, as a result, the Company’s financial statements were misstated; (3) that the

Company lacked adequate internal controls over financial reporting; (4) that, as a result,

Company would be subject to regulatory scrutiny and incur substantial costs; and (5) that, as a

result of the foregoing, Defendants’ positive statements about the Company’s business,

operations, and prospects and prospects were materially misleading and/or lacked a reasonable

basis.

                            Disclosures at the End of the Class Period

         45.    On October 17, 2018, the Company reported preliminary financial results for third

quarter 2018 with revenue expected to be $33 million, compared to previously-announced

guidance of $40-$41 million. The Company also announced that its CEO had offered to acquire

all of the common stock of the Company for a price of $2.00 per share. In a press release entitled

“Revolution Lighting Technologies (RVLT) Provides Preliminary Third Quarter Update and

Revises Full Year Guidance,” the Company stated, in relevant part:

         While the company has been successful in winning a number of important
         projects, it continues to experience delays in starting and or shipping against these
         projects particularly at our multifamily and Tri-State divisions. As a result, we
         expect revenue of approximately $33 million for the third quarter versus prior
         third quarter guidance of $40-$41 million. Due to the decline in expected third
         quarter revenue and our current outlook for the fourth quarter, total revenue for
         the full year 2018 is expected to approximate $140-$145 million versus our
         previous full year guidance of $160-$170 million.

         We are disappointed in our results and recognize that we need to address our
         overall business structure, reduce operating costs to a level more aligned with our
         revenue expectations and address our level of outstanding debt. Over the past six
         months, our CEO and Chairman, Robert LaPenta, has provided approximately
         $15 million of capital to fund operations, bringing our total debt, including bank
         financing, to over $60 million. Mr. LaPenta believes additional capital
         requirements cannot presently be addressed through third party financing.

         Mr. LaPenta has proposed to acquire all of the common stock of the Company
         that he and his affiliates do not currently own. The text of Mr. LaPenta’s letter to
         the Company’s independent directors appears in full below:

                We write to you in connection with your roles as independent,
                disinterested members of the Board of Directors . . .
                                     CLASS ACTION COMPLAINT
                                                10
        Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 12 of 27




                                             ***

              Without additional funding, we believe that the Company may be
              forced to consider various restructuring alternatives in the near
              term.

              Simply put, we do not believe that it is in the best interests of the
              Company and its stockholders to continue as a publicly traded
              enterprise, as we believe it currently lacks sufficient scale and the
              ongoing costs of maintaining the reporting and related
              infrastructure necessary for public reporting are a significant
              financial burden on the Company. In addition, we believe the
              constant pressure to meet quarterly earnings targets has been a
              significant distraction to the Company’s management and has
              prevented management from appropriately focusing on the long
              term growth and the development of the Company’s business.

              As a result of the above factors, we propose to acquire all of the
              common stock of the Company that we do not currently own
              for a price of $2.00 per share. Given our familiarity with the
              Company, we would not need to conduct any further due diligence
              on the Company and would be in a position to sign a definitive
              transaction agreement quickly.

       46.    On this news, the Company’s stock price fell $0.98 per share, or over 38%, to

close at $1.58 per share on October 17, 2018, on unusually heavy trading volume.

       47.    On October 19, 2018, the Company disclosed “an ongoing investigation by the

SEC regarding certain revenue recognition practices, including bill and hold transactions that

occurred between 2014 through the second quarter of 2018.” In a press release entitled

“Revolution Lighting Provides Additional Clarity Regarding its Recent Preliminary Third

Quarter Results Issued on October 17, 2018,” the Company stated the estimated impact on

revenue of an accounting policy “based on shipment of products, as opposed to bill and hold

revenue recognition.” The Company stated, in relevant part:

       Management does not believe that revenue reduction described in the release is
       due to any loss or deterioration of the Company’s business or from the
       discontinuation of bill and hold transactions that are the subject of an
       investigation by the Securities and Exchange Commission (“SEC”), as described
       below, but rather resulted from the timing of the start and completion of programs
       during the third quarter at the Company’s Value and Tristate divisions. These


                                  CLASS ACTION COMPLAINT
                                             11
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 13 of 27




       delays, plus a revised more conservative outlook regarding the fourth quarter
       revenue guidance, resulted in the reduced outlook for the year.

       There is currently an ongoing investigation by the SEC regarding certain revenue
       recognition practices, including bill and hold transactions that occurred between
       2014 through the second quarter of 2018. The Company estimates that the net
       effect on the reported revenue as a result of, among other things, recording
       revenue based on shipments of products, as opposed to bill and hold revenue
       recognition used by the Company, would have been to reduce revenue by $5.0
       million, $6.3 million and $6.3 million in each of 2014, 2015 and 2016,
       respectively, and increase revenue by $11.6 million and $5.1 million in 2017 and
       2018, respectively. In connection with the results of the investigation to date, the
       Company is in the process of assessing its revenue recognition policies and the
       resulting effects on its financial results, and adopting remedial measures to
       improve its internal controls as described in its Form 10-Q for the second quarter
       of 2018. The SEC investigation is ongoing and there can be no assurance as to
       whether additional remedial measures will be required. The Company will
       continue to cooperate with the SEC regarding the investigation.

       48.    On this news, the Company’s stock price fell $0.16 per share, or over 10%, to

close at $1.43 per share on October 22, 2018, on unusually heavy trading volume.

       49.    On November 13, 2018, the Company filed a Notice of Late Filing on Form 12b-

25 with the SEC. Therein, the Company stated that it was unable to file its quarterly report for

the period ended September 30, 2018 due to a review by the Company’s Audit Committee of the

previously filed financial statements, and the Company provided detail regarding the incorrect

recognition of revenue. The Company stated, in relevant part:

       Beginning in 2014, the Company used bill and hold revenue accounting
       principally for certain contracts in its Multi-family division between its Value
       Lighting subsidiary and its customers. Upon satisfaction of specific requirements
       imposed by accounting principles and interpretations of the SEC staff, bill and
       hold revenue accounting permits a company to record revenue on products
       segregated for delivery within its own warehouse. Absent satisfaction of these
       requirements, revenue recognition generally should await delivery of products to
       customers.

       The Company’s Audit Committee also is conducting a review to assess the
       accuracy of the Company’s previously filed financial statements, the current focus
       of which is to review the extent to which the Company incorrectly recognized
       revenue with respect to bill and hold transactions from 2014 until the second
       quarter of fiscal 2018, and whether the Company’s accounting for those
       transactions led to material errors in its financial statements. If this ongoing
       review results in a conclusion that the Company made material errors in its
                                  CLASS ACTION COMPLAINT
                                             12
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 14 of 27




       financial statements, the Company would restate the affected financial statements
       to the extent required. In any such restatement, some revenue recognized in prior
       periods would be recognized in later periods. While the Audit Committee review
       is ongoing, the Company will not be able to provide financial statements for the
       fiscal quarter ended September 30, 2018.

       50.    On November 14, 2018, the Company announced that its Transaction Committee

was considering an updated proposal from Defendant LaPenta to acquire all of the Company’s

outstanding stock for $1.50 per share. The Company stated, in relevant part:

       Revolution Lighting Technologies, Inc. (NASDAQ: RVLT) (“Revolution
       Lighting” or the “Company”), a global provider of advanced LED lighting
       solutions announced today that on November 14, 2018, the Transaction
       Committee of the Board of Directors of the Company received a revised proposal
       from RVL I LLC, an affiliate of the Company’s Chairman and CEO, Robert V.
       LaPenta, to acquire all of the outstanding common stock of the Company. The
       Transaction Committee is in the process of considering the proposal with
       assistance from its advisors and will have no comment until its evaluation is
       complete. The text of the letter to the Transaction Committee of the Company’s
       Board of Directors appears in full below:

              We write in connection with our October 16, 2018 letter (the
              “Offer Letter”) regarding our offer to acquire all of the common
              stock of Revolution Lighting Technologies, Inc. (the “Company”)
              on behalf of RVL 1, LLC (together with its affiliates and certain
              related persons, “we” or “us”) that we do not own.

                                              ***

              Over the last month, we have provided the Company with $7.5
              million in debt financing, and we may be required to provide up to
              an additional $7.0 million in debt financing to fund the Company’s
              operations in the ordinary course through the end of 2018. We
              further understand that the Company may require additional
              funding in 2018 in the event of unforeseen circumstances, and we
              expect the Company to require additional funds to continue its
              operations beyond 2018, with the extent of such additional
              required funds depending upon the Company’s future results of
              operation and the amount of time and expense necessary to
              complete the previously disclosed SEC investigation and the Audit
              Committee’s review of the Company’s historical financial
              statements and other related costs. We intend to continue to fund
              the Company through continued periodic loans to the extent
              consistent with what we believe to be the best interests of the
              Company and its stockholders.



                                  CLASS ACTION COMPLAINT
                                             13
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 15 of 27




               The Company’s overall debt as of November 12, 2018 was $65.0
               million and, as noted above, will rise further as additional debt
               financing is provided. This increased amount of debt, which
               exceeds the amount that we expected the Company to have at the
               time of our Offer Letter, as well as an anticipated delay in
               completing a going private transaction and the developments in
               the Company’s business that it has disclosed, including the SEC
               investigation and the Audit Committee’s review, will necessitate a
               decrease from the $2.00 per share offer contained in our Offer
               Letter to a revised offer of $1.50 per share.

       51.     On this news, the Company’s stock price fell $0.55 per share, or nearly 40%, to

close at $0.85 per share on November 15, 2018, on unusually heavy trading volume.

                                   CLASS ACTION ALLEGATIONS
       52.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

purchased or otherwise acquired Revolution Lighting securities between March 14, 2014, and

November 14, 2018, inclusive (collectively, the “Class”). Excluded from the Class are

Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest.

       53.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Revolution Lighting’s securities were actively

traded on the NASDAQ exchange. While the exact number of Class members is unknown to

Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff believes

that there are hundreds or thousands of members in the proposed Class. Millions of Revolution

Lighting shares were traded publicly during the Class Period on the NASDAQ. Record owners

and other members of the Class may be identified from records maintained by Revolution

Lighting or its transfer agent and may be notified of the pendency of this action by mail, using

the form of notice similar to that customarily used in securities class actions.

       54.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of


                                    CLASS ACTION COMPLAINT
                                               14
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 16 of 27




federal law that is complained of herein.

        55.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

        56.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:
                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Revolution Lighting; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages

        57.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and
burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.
                                UNDISCLOSED ADVERSE FACTS

        58.       The market for Revolution Lighting’s securities was open, well-developed and

efficient at all relevant times. As a result of these materially false and/or misleading statements,

and/or failures to disclose, Revolution Lighting’s securities traded at artificially inflated prices

during the Class Period. Plaintiff and other members of the Class purchased or otherwise

acquired Revolution Lighting’s securities relying upon the integrity of the market price of the

Company’s securities and market information relating to Revolution Lighting, and have been

damaged thereby.


                                      CLASS ACTION COMPLAINT
                                                 15
          Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 17 of 27




         59.   During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Revolution Lighting’s securities, by publicly issuing false and/or

misleading statements and/or omitting to disclose material facts necessary to make Defendants’

statements, as set forth herein, not false and/or misleading. Said statements and omissions were

materially false and/or misleading in that they failed to disclose material adverse information

and/or misrepresented the truth about Revolution Lighting’s business, operations, and prospects

as alleged herein.

         60.   At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Revolution Lighting’s financial well-being and prospects. These

material misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein.

                                            LOSS CAUSATION
         61.   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

         62.   During the Class Period, Plaintiff and the Class purchased Revolution Lighting’s

securities at artificially inflated prices and were damaged thereby. The price of the Company’s

securities significantly declined when the misrepresentations made to the market, and/or the

information alleged herein to have been concealed from the market, and/or the effects thereof,

were revealed, causing investors’ losses.

                                     SCIENTER ALLEGATIONS
         63.   As alleged herein, Defendants acted with scienter in that Defendants knew that

                                   CLASS ACTION COMPLAINT
                                              16
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 18 of 27




the public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Revolution Lighting, his/her control

over, and/or receipt and/or modification of Revolution Lighting’s allegedly materially

misleading misstatements and/or their associations with the Company which made them privy to

confidential proprietary information concerning Revolution Lighting, participated in the

fraudulent scheme alleged herein.
                  APPLICABILITY OF PRESUMPTION OF RELIANCE
                         (FRAUD-ON-THE-MARKET DOCTRINE)
       64.     The market for Revolution Lighting’s securities was open, well-developed and

efficient at all relevant times. As a result of the materially false and/or misleading statements

and/or failures to disclose, Revolution Lighting’s securities traded at artificially inflated prices

during the Class Period. On March 17, 2014, the Company’s common stock closed at a Class

Period high of $38.10 per share.       Plaintiff and other members of the Class purchased or

otherwise acquired the Company’s securities relying upon the integrity of the market price of

Revolution Lighting’s securities and market information relating to Revolution Lighting, and

have been damaged thereby.

       65.     During the Class Period, the artificial inflation of Revolution Lighting’s stock was

caused by the material misrepresentations and/or omissions particularized in this Complaint

causing the damages sustained by Plaintiff and other members of the Class. As described herein,

during the Class Period, Defendants made or caused to be made a series of materially false

and/or misleading statements about Revolution Lighting’s business, prospects, and operations.

These material misstatements and/or omissions created an unrealistically positive assessment of

Revolution Lighting and its business, operations, and prospects, thus causing the price of the

Company’s securities to be artificially inflated at all relevant times, and when disclosed,


                                    CLASS ACTION COMPLAINT
                                               17
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 19 of 27




negatively affected the value of the Company stock.         Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the

Class purchasing the Company’s securities at such artificially inflated prices, and each of them

has been damaged as a result.

       66.     At all relevant times, the market for Revolution Lighting’s securities was an

efficient market for the following reasons, among others:
               (a)    Revolution Lighting stock met the requirements for listing, and was listed

and actively traded on the NASDAQ, a highly efficient and automated market;

               (b)    As a regulated issuer, Revolution Lighting filed periodic public reports

with the SEC and/or the NASDAQ;

               (c)    Revolution Lighting regularly communicated with public investors via

established market communication mechanisms, including through regular dissemination of

press releases on the national circuits of major newswire services and through other wide-

ranging public disclosures, such as communications with the financial press and other similar

reporting services; and/or

               (d)    Revolution Lighting was followed by securities analysts employed by

brokerage firms who wrote reports about the Company, and these reports were distributed to the

sales force and certain customers of their respective brokerage firms. Each of these reports was

publicly available and entered the public marketplace

       67.     As a result of the foregoing, the market for Revolution Lighting’s securities

promptly digested current information regarding Revolution Lighting from all publicly available

sources and reflected such information in Revolution Lighting’s stock price. Under these

circumstances, all purchasers of Revolution Lighting’s securities during the Class Period

suffered similar injury through their purchase of Revolution Lighting’s securities at artificially

inflated prices and a presumption of reliance applies.

       68.     A Class-wide presumption of reliance is also appropriate in this action under the

                                   CLASS ACTION COMPLAINT
                                              18
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 20 of 27




Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because the Class’s claims are, in large part, grounded on Defendants’ material

misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial

prospects—information that Defendants were obligated to disclose—positive proof of reliance is

not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the

sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                           NO SAFE HARBOR
        69.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to
any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Revolution Lighting who knew that the statement was false when made.
                                          FIRST CLAIM
                          Violation of Section 10(b) of The Exchange Act
                            and Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants

        70.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

                                    CLASS ACTION COMPLAINT
                                               19
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 21 of 27




       71.      During the Class Period, the Company and the Individual Defendants carried out

a plan, scheme and course of conduct which was intended to and, throughout the Class Period,

did: (i) deceive the investing public, including Plaintiff and other Class members, as alleged

herein; and (ii) cause Plaintiff and other members of the Class to purchase Revolution Lighting’s

securities at artificially inflated prices. In furtherance of this unlawful scheme, plan and course

of conduct, the Company and the Individual Defendants, and each of them, took the actions set

forth herein.

       72.      The Company and the Individual Defendants (i) employed devices, schemes, and

artifices to defraud; (ii) made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading; and (iii) engaged in acts, practices, and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities in an effort to maintain artificially high market prices for Revolution Lighting’s

securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5. The Company and

the Individual Defendants are sued either as primary participants in the wrongful and illegal

conduct charged herein or as controlling persons as alleged below.

       73.      The Company and the Individual Defendants, individually and in concert, directly

and indirectly, by the use, means or instrumentalities of interstate commerce and/or of the mails,

engaged and participated in a continuous course of conduct to conceal adverse material

information about Revolution Lighting’s financial well-being and prospects, as specified herein.

       74.      These defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of Revolution Lighting’s

value and performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about Revolution Lighting and its

business operations and future prospects in light of the circumstances under which they were

made, not misleading, as set forth more particularly herein, and engaged in transactions,

practices and a course of business which operated as a fraud and deceit upon the purchasers of

                                   CLASS ACTION COMPLAINT
                                              20
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 22 of 27




the Company’s securities during the Class Period.

       75.     Each of the Individual Defendants’ primary liability, and controlling person

liability, arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.

       76.     The Company and the Individual Defendants had actual knowledge of the

misrepresentations and/or omissions of material facts set forth herein, or acted with reckless

disregard for the truth in that they failed to ascertain and to disclose such facts, even though such

facts were available to them. Such defendants’ material misrepresentations and/or omissions

were done knowingly or recklessly and for the purpose and effect of concealing Revolution

Lighting’s financial well-being and prospects from the investing public and supporting the

artificially inflated price of its securities. As demonstrated by the Company and the Individual

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, these defendants, if they did not

have actual knowledge of the misrepresentations and/or omissions alleged, were reckless in

failing to obtain such knowledge by deliberately refraining from taking those steps necessary to

discover whether those statements were false or misleading.

       77.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Revolution Lighting’s securities was artificially inflated during the Class Period. In ignorance of

                                    CLASS ACTION COMPLAINT
                                               21
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 23 of 27




the fact that market prices of the Company’s securities were artificially inflated, and relying

directly or indirectly on the false and misleading statements made by the Company and the

Individual Defendants, or upon the integrity of the market in which the securities trades, and/or

in the absence of material adverse information that was known to or recklessly disregarded by

the Company and the Individual Defendants, but not disclosed in public statements by these

defendants during the Class Period, Plaintiff and the other members of the Class acquired

Revolution Lighting’s securities during the Class Period at artificially high prices and were

damaged thereby.

        78.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Revolution Lighting was experiencing, which were not disclosed by the Company and the

Individual Defendants, Plaintiff and other members of the Class would not have purchased or

otherwise acquired their Revolution Lighting securities, or, if they had acquired such securities

during the Class Period, they would not have done so at the artificially inflated prices which they

paid.

        79.     By virtue of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        80.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.
                                        SECOND CLAIM
                          Violation of Section 20(a) of the Exchange Act
                                  (Against the Individual Defendants)
        81.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        82.     The Individual Defendants acted as controlling persons of Revolution Lighting

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their

high-level positions, and their ownership and contractual rights, participation in and/or

                                    CLASS ACTION COMPLAINT
                                               22
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 24 of 27




awareness of the Company’s operations and/or intimate knowledge of the false financial

statements filed by the Company with the SEC and disseminated to the investing public, the

Individual Defendants had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading. The

Individual Defendants were provided with or had unlimited access to copies of the Company’s

reports, press releases, public filings and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

       83.     In particular, each of these Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, is presumed to have had the power to

control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.

       84.     As set forth above, Revolution Lighting and the Individual Defendants each

violated Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in this

Complaint. By virtue of their positions as controlling persons, the Individual Defendants are

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered damages in

connection with their purchases of the Company’s securities during the Class Period.
                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

                                   CLASS ACTION COMPLAINT
                                              23
         Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 25 of 27




this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.


Dated: January 31, 2019                       GLANCY PRONGAY & MURRAY LLP


                                              By: s/ Lesley F. Portnoy
                                              Lesley F. Portnoy (LP-1941)
                                              230 Park Avenue, Suite 530
                                              New York, New York 10169
                                              Telephone: (212) 682-5340
                                              Facsimile: (212) 884-0988
                                              lportnoy@glancylaw.com

                                                     -and-

                                              GLANCY PRONGAY & MURRAY LLP
                                              Lionel Z. Glancy
                                              Robert V. Prongay
                                              Lesley F. Portnoy
                                              Charles H. Linehan
                                              Pavithra Rajesh
                                              1925 Century Park East, Suite 2100
                                              Los Angeles, CA 90067
                                              Telephone: (310) 201-9150
                                              Facsimile: (310) 201-9160

                                              LAW OFFICES OF HOWARD G. SMITH
                                              Howard G. Smith
                                              3070 Bristol Pike, Suite 112
                                              Bensalem, PA 19020
                                              Telephone: (215) 638-4847
                                              Facsimile: (215) 638-4867

                                              Attorneys for Plaintiff




                                   CLASS ACTION COMPLAINT
                                              24
Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 26 of 27




                       (REDACTED)
Case 1:19-cv-00980-JPO Document 1 Filed 01/31/19 Page 27 of 27


          James Glavan's Transactions in Revolution Lighting
                     Technologies, Inc. (RVLT)
        Date     Transaction Type      Quantity       Unit Price
     3/24/2014        Bought              500          $32.0990
     3/26/2014        Bought              500          $32.0000
     3/28/2014        Bought              310          $30.6800
     3/28/2014        Bought              190          $30.6900
      4/7/2014        Bought               60          $29.6500
      4/7/2014        Bought              440          $29.7000
      5/8/2014        Bought              500          $26.3990
      9/1/2015        Bought              155          $10.5990
     1/13/2016        Bought              200           $7.7750
     3/17/2016        Bought              300           $6.6000
      5/3/2016        Bought              500           $5.4624
    11/10/2016        Bought              500           $5.7858
    10/26/2017        Bought             2,000          $5.2500
     12/5/2017        Bought              100           $3.8699
     12/5/2017        Bought              200           $3.8650
     12/5/2017        Bought              299           $3.8700
     12/5/2017        Bought              901           $3.8701
      8/6/2018        Bought             2,000          $2.7450
